Case 1:20-cr-00068-LEK   Document 16    Filed 08/31/20   Page 1 of 3 PageID.113
SEALED
BY ORDER OF THE COURT
KENJI M. PRICE #10523                     COREY R. AMUNDSON
United States Attorney                    Chief, Public Integrity Section
District of Hawaii                        United States Department of Justice

KENNETH M. SORENSON                       JOHN D. KELLER                    FILED IN THE
                                                                   UNITED STATES DISTRICT COURT
Assistant U.S. Attorney                   Principal Deputy Chief        DISTRICT OF HAWAII
                                                                         Aug 31, 2020
Room 6-100, PJKK Federal Bldg.                                     Michelle Rynne, Clerk of Court

300 Ala Moana Boulevard                   SEAN F. MULRYNE
Honolulu, Hawaii 96850                    Deputy Director, Election Crimes
Telephone: (808) 541-2850                 NICOLE R. LOCKHART
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Email:ken.sorenson@usdoj.gov              Trial Attorneys
                                          Public Integrity Section


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                )   CR. NO. 20-00068 LEK
                                         )   UNDER SEAL
                  Plaintiff,             )
                                         )   ADDENDUM TO
      vs.                                )   MEMORANDUM OF PLEA
                                         )   AGREEMENT
NICKIE MALI LUM DAVIS,                   )
                                         )   DATE: August 31, 2020
                  Defendant.             )   TIME: 11:00 a.m.
                                         )   JUDGE: Leslie E. Kobayashi
                                         )


  SEALED ADDENDUM TO MEMORANDUM OF PLEA AGREEMENT

     Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the UNITED

STATES OF AMERICA, by its undersigned attorneys, and the defendant, NICKIE

MALI LUM DAVIS, and her attorneys, William C. McCorriston, Esq. and Abbe
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David Lowell, Esq., have agreed upon the following addendum to the Memorandum

of Plea Agreement, to be filed under seal to avoid potentially alerting subjects of

ongoing criminal investigations of the investigations and to avoid the risk of

unnecessarily identifying uncharged third parties whose conduct is not at issue in the

Information to which the defendant is pleading.

           WAIVER OF POTENTIAL CONFLICT OF INTEREST

      The defendant understands that the United States Department of Justice has

raised with one of her attorneys, Abbe D. Lowell, his previous representation of

certain individuals with whom Ms. Davis also has had contact or interactions and

whose names have or might come up during her cooperation and of certain other

individuals on matters unrelated to Ms. Davis. Ms. Davis has discussed these issues

and the resulting potential for conflicts of interest with Mr. Lowell and with third-

party counsel and knowingly and intelligently waives any potential or actual conflict

of interest as to Mr. Lowell and affirms that she wishes to proceed with Mr. Lowell

as one of her attorneys in this matter.




       DATED:       Honolulu, Hawaii, August 28, 2020




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     COREY R. A;\1UNDSON
     Chief, Public lntegrily Section
     United States D~purtmcnt of Justice



                 . KELLER
                           -
     Principal Deputy Chief
                                                    Chief, Criminal Division
     Sean F. Mulryne
                                                    District of Hawaii
     Deputy Director, Election Crimes
     Nicole R. Lockhart
     James C. Mann
     Trial Attorneys
     Pub lic Integrity Sec tion


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     NICKlE MA U LUM DA. VIS
     Def end ant



                                                   WILLIAM C. MCCORRIS-TON, Esq.
                                                       -


                                                   Counsel for Defendant




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